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                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      Case No.: 17-cv-60426-UU


   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.
   ____________________________________/

                             DECLARATION OF KATHERINE M. BOLGER

             I, Katherine M. Bolger, declare as follows:
             1.        I am a partner at Davis Wright Tremaine LLP, counsel to Defendants, BuzzFeed,
   Inc. and Ben Smith, in this action.
             2.        I make this declaration in order to annex exhibits relied upon in Defendants’
   Opposition to Plaintiffs’ Daubert Motion to Exclude the Testimony of Anthony J. Ferrante.
             3.        Annexed hereto as Exhibit 1 is a true and correct copy of the document widely
   referred to as the “Dossier,” which was attached Exhibit 3 to Plaintiffs’ Complaint.
             4.


             5.        Annexed hereto as Exhibit 3 is a true and correct copy of a May 13, 2016 article
   entitled Russia ‘was behind German parliament hack” for BBC News, printed from the website
   https://www.bbc.com/news/technology-36284447.
             6.        Annexed hereto as Exhibit 4 is a true and correct copy of the July 13, 2018
   federal indictment in U.S. v. Netyksho, Case No. 1:18-cr-00215-ABJ (D.D.C.) (the “Mueller
   Indictment”).
             7.
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          8.


          9.


          10.


          11.


          12.


          13.


          14.    Annexed hereto as Exhibit 12 is a true and correct copy of a January 12, 2017
   statement by XBT Holding S.A., printed from the website
   http://xbtholding.com/news/2017/01/xbt-statement-on-unsubstantiated-buzzfeed-report.html.
          15.


          16.


          17.


          18.


          19.




          20.    Annexed hereto as Exhibit 18 is a true and correct copy of an October 10, 2017
   email from Katherine M. Bolger to counsel for Plaintiffs and the reply October 12, 2017 email
   from Matthew Shayefar to counsel for Defendants.
          21.




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          22.    Annexed hereto as Exhibit 20 is a true and correct copy of the curriculum vitae of
   Anthony Ferrante, which is Exhibit 1 to his Report.
          I declare under penalty of perjury that the foregoing is true and correct.

   Executed on: October 29, 2018                                /s/ Katherine M. Bolger
                                                                Katherine M. Bolger




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